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                         7
                         8                             UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
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                             KEITH SUTTON,                                  Case No.:
                        12
                                                Plaintiff,
                        13                                                  COMPLAINT FOR BENEFITS
                                  vs.                                       UNDER A GROUP DISABILITY
                        14                                                  EMPLOYEE BENEFIT PLAN
                             METROPOLITAN LIFE INSURANCE
                        15
                             COMPANY, SCIENTIFIC GAMES
                        16   CORPORATION EMPLOYEE BENEFIT
                             PLAN and DOES 1 THROUGH 10;
                        17
                             INCLUSIVE,
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                                                Defendants.
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                                        COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
                         1   Plaintiff KEITH SUTTON alleges as follows:
                         2         1.     This Court’s jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331, 1337
                         3   and 29 U.S.C.§ 1132(a), (e), (f) and (g), of the Employee Retirement Income Security
                         4   Act of 1974, 29 U.S.C. §1001, et seq. (hereafter, “ERISA”) as it involves a claim by
                         5   Plaintiff for long-term disability benefits under an employee benefit plan regulated
                         6   and governed under ERISA. Jurisdiction is predicated under these code sections as
                         7   well as 28 U.S.C. § 1331 as this action involves a federal question.
                         8         2.     The events or omissions giving rise to Plaintiff’s claim occurred in this
                         9   judicial district, thus venue is proper here pursuant to 28 U.S.C. § 1391(b)(2), and the
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                        10   ends of justice so require.
                        11         3.     The ERISA statute at 29 U.S.C. § 1133, in accordance with Regulations
                        12   of the Secretary of Labor, provides a mechanism for internal appeal of benefit
                        13   denials. Those avenues of appeal have been exhausted. Plaintiff has exhausted all
                        14   administrative remedies.
                        15         4.     Plaintiff is informed and believes and thereon alleges that Defendant
                        16   SCIENTIFIC GAMES CORPORATION EMPLOYEE BENEFIT PLAN is an
                        17   employee welfare benefit plan established and maintained by Scientific Games
                        18   Corporation, a corporation headquartered in Las Vegas, Nevada, to provide its
                        19   employees with income protection in the event of a disability, and, is the Plan
                        20   Administrator.
                        21         5.     Plaintiff alleges upon information and belief that the Defendant,
                        22   METROPOLITAN LIFE INSURANCE COMPANY (“METLIFE”) is, and at all
                        23   relevant times was, a corporation duly organized and existing under and by virtue of
                        24   the laws of the State of New York, and authorized to transact and transacting the
                        25   business of insurance in this state.
                        26         6.     The true names or capacities, whether individual, corporate, associate, or
                        27   otherwise, of Defendants, DOES 1 through 10, are unknown to plaintiff who
                        28   therefore sues said Defendants by such fictitious names. Plaintiff is informed and
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                                        COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
                         1   believes and on such information and belief alleges that each of the Defendants sued
                         2   herein as a DOE is legally responsible in some manner for the events and happenings
                         3   referred to herein, and will ask leave of this court to amend this complaint to insert
                         4   their true names and capacities in place and instead of the fictitious names when the
                         5   same become known to Plaintiff.
                         6         7.      Plaintiff KEITH SUTTON (“MR. SUTTON”), at relevant times is, and
                         7   has been, a resident of Nevada County, and citizen of the State of California.
                         8         8.      Plaintiff is informed and believes and thereon alleges that Defendant
                         9   METLIFE, issued Group Insurance Policy Number 102299 to Scientific Games
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                        10   Corporation and the eligible participants and beneficiaries of the Plan.
                        11         9.      The Policy provides for Long-Term Disability benefits equal to 60% of
                        12   MR. SUTTON’s Pre-disability Earnings, reduced by Other Income Benefits,
                        13   following a 180-day month Elimination Period. Under the terms of the Policy,
                        14   should he remain disabled, MR. SUTTON would be entitled to benefits through
                        15   December 4, 2021.
                        16         10.     The Plan defines “Disabled” as follows:
                        17         Disabled or Disability means that, due to Sickness or as a direct result of
                        18         accidental injury:
                        19               • You are receiving Appropriate Care and Treatment and complying
                        20                 with the requirements of such treatment; and
                        21               • You are unable to earn:
                        22               • during the Elimination Period and the next 24 months of Sickness or
                        23                 accidental injury, more than 80% of Your Predisability Earnings at
                        24                 Your Own Occupation from any employer in Your Local Economy.
                        25         11.     Prior to his disability, MR. SUTTON worked as a Senior Firmware
                        26   Engineer for Scientific Games Corporation. Plaintiff’s job duties included, but were
                        27   not limited to, performing high-level design and development of assigned embedded
                        28   related projects; creating high-level and detailed analysis on design of various
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                                          COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
                         1   components to be used in the gaming and system products; test, integrate, write,
                         2   troubleshoot, and debug embedded software applications; and plan, code, test,
                         3   demonstrate, and train fellow engineers on software engineering practices.
                         4         12.    Unfortunately, as of May 18, 2018, MR. SUTTON was no longer able to
                         5   perform the duties of his occupation and became total disabled as defined by the Plan
                         6   to due pain associated with his diagnoses of intervertebral disc displacement with
                         7   myelopathy, lumbar region and degenerative disc disease.
                         8         13.    In an attempt to continue working despite the pain, restrictions and
                         9   limitations associated with these diagnoses, in October 2016 MR. SUTTON began
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                        10   receiving facet injections approximately every 90 days. Originally the injections
                        11   would provide MR. SUTTON with approximately 50% pain relief for 90 days, but
                        12   effectiveness started to wear off, which impacted his ability to continue working.
                        13   However, over time, the injections become less effective. He had trouble meeting
                        14   schedules and projects, as the pain significantly impaired his ability and focus. Both
                        15   his primary care physician and pain management specialist agreed that MR.
                        16   SUTTON needed to cease work due to his increased daily pain.
                        17         14.    Shortly thereafter, MR. SUTTON filed a claim for long-term disability
                        18   benefits, along with supporting documentation including Attending Physician
                        19   Statements and supporting medical records.
                        20         15.    After reviewing the medical records and other claim forms, METLIFE
                        21   agreed that MR. SUTTON was disabled and entitled to disability benefits. By letter
                        22   dated November 21, 2018, METLIFE informed MR. SUTTON that “[o]ur records
                        23   show that you last worked on May 18, 2018 [and we] have approved your disability
                        24   claim starting on May 21, 2018.” METLIFE further stated that “[y]our benefits are
                        25   payable as of November 24, 2018.”
                        26         16.    In the following months, MR. SUTTON continued to provide METLIFE
                        27   with documentation, including updated medical records, to support his ongoing
                        28   claim. For example, METLIFE received documents demonstrating that on February
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                                         COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
                         1   15, 2019, MR. SUTTON underwent a laminectomy on his L5-S1 and S1-S2, and a
                         2   posterior spinal fusion of his L4-5 and L5-1.
                         3         17.    Each month, after reviewing MR. SUTTON’s medical records,
                         4   METLIFE approved his long-term disability claim paid MR. SUTTON the monthly
                         5   long-term disability benefits he was due.
                         6         18.    However, by letter dated October 15, 2019, METLIFE informed MR.
                         7   SUTTON that it “determined that we are unable to approve benefits on your claim
                         8   beyond October 15, 2019.” METLIFE’s conclusion was based on the opinion of a
                         9   paid, “paper review” physician who did not examine MR. SUTTON to ascertain his
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                        10   true level of functional abilities, and did not properly credit reports of his ongoing,
                        11   residual back pain.
                        12         19.    MR. SUTTON requested an appeal of METLIFE’s claim decision by
                        13   letter dated November 7, 2019. In the letter, MR. SUTTON explained that he could
                        14   not perform the physical activities that METLIFE’s paid physicians opined he could
                        15   perform, including standing four hours a day, walking four hours a day and sitting
                        16   eight hours a day. He explained that those activities “are simply not possible for me
                        17   to perform [and] had either of your reviewers examined me in person, I believe they
                        18   would have reached a different conclusion and determined that I was unable to return
                        19   to full-time work.”
                        20         20.    In further support of his appeal and claim, MR. SUTTON, provided
                        21   updated medical records, which further confirmed his ongoing disability and entitled
                        22   to benefits. For example:
                        23      • On October 24, 2019, Dr. Lombard, MR. SUTTON’s primary care physician
                        24         stated that “(He is) unable to kneel or crouch post knee replacements and he
                        25         has no kneecap. He can walk only for 10 min and sit for 60 min., but not
                        26         repeatedly more than 2 hours per day total. He is unable to concentrate when
                        27         he is trying to do these activities.”
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                                         COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
                         1      • Dr Lombard also prescribed Norco pain medication to help manage MR.
                         2         SUTTON’s lower back pain, but was hesitant to increase the 10 mg per day
                         3         dose to see if it would allow him to sit and stand for longer periods.
                         4      • On October 18, 2019, following an examination by Yanna Dugenny, PA, at
                         5         Stanford Spine Center (where his February 2019 lumbar fusion surgery was
                         6         performed), she concluded that MR. SUTTON can only “currently stand for 10
                         7         minutes at time, sit for 20 minutes at time, and walk for 15 minutes at time. In
                         8         between he has to rest and use his recliner ... He has not been able to return
                         9         back to work and still does not feel he is able to work full time with his
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                        10         limitations”.
                        11      • On November 11, 2019 following a to Thomas Deurloo, PT, at Truckee
                        12         Physical Therapy, he concluded that “morning pain continues to be fairly
                        13         strong (7/10) when he first gets up. Prolonged sitting and driving also cause
                        14         him to have increased pain.”
                        15         21.    MR. SUTTON explained that METLIFE’s assertion that he could stand
                        16   for four hours per day and sit for eight hours per day is unrealistic, especially given
                        17   that “[t]he statements from my three medical providers show that I could, at best,
                        18   tolerate two periods of 60 minutes sitting and 10 minutes standing, for a total of 2
                        19   hours per day. After that I need to sit in my recliner with a lumbar cushion and an ice
                        20   pack under my lower back.” He further noted that Dr. Wood, his spine surgeon at
                        21   Stanford stated that his recovery and the completion of new bone growth will not
                        22   happen for a period of 12- 18 months after surgery, which was performed on
                        23   February 15, 2019.
                        24         22.    By letter dated January 28, 2020, METLIFE informed MR. SUTTON
                        25   that it was upholding its decision to terminate his long-term disability benefits as of
                        26   October 16, 2019, despite the overwhelming evidence he presented supporting his
                        27   ongoing inability to earn more than 80% of his pre-disability earnings from his own
                        28   occupation as a Senior Firmware Engineer. .
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                                         COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
                         1         23.    METLIFE’s conclusion was again supported only by the opinions of
                         2   paper-review physicians, who did not examine MR. SUTTON. Indeed, despite MR.
                         3   SUTTON’s assertion that an in-person examination would demonstrate to METLIFE
                         4   that he was unable to sit for eight hours, much less maintain the concentration and
                         5   focus needed for his occupation, METLIFE did not request that he appear for an in-
                         6   person medical examination or functional capacity examination by a physician of
                         7   their choosing.
                         8         24.    MR. SUTTON performed all of his obligations under the Policy and
                         9   Plan. Despite this, to date, MR. SUTTON has not received all of the benefits he is
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                        10   entitled to under the subject Policy.
                        11         25.    For all the reasons set forth above, the decision to deny benefits was
                        12   arbitrary, capricious, wrongful, unreasonable, and irrational, sorely contrary to the
                        13   evidence and contrary to the terms of the Plan.
                        14         26.    As a direct and proximate result of the Defendants’ failure to provide
                        15   MR. SUTTON with disability benefits, MR. SUTTON has been deprived of said
                        16   benefits from October 16, 2019 to the present date.
                        17         27.    As a further direct and proximate result of the denial of benefits, MR.
                        18   SUTTON has been required to incur attorneys’ fees to pursue this action, and is
                        19   entitled to have such fees paid by Defendants pursuant to 29 U.S.C. § 1132(g) (1),
                        20   ERISA § 502(g) (1).
                        21         28.    A controversy now exists between the parties as to whether MR.
                        22   SUTTON was and remains disabled as defined in the Plan. Plaintiff seeks the
                        23   declaration of this Court that he meets the Plan definition of disability and thus she is
                        24   entitled to benefits from the Plan.
                        25
                        26         WHEREFORE, Plaintiff prays for relief against Defendants as follows:
                        27         1.     An award of benefits in the amount not paid MR. SUTTON from
                        28   October 16, 2019 to the date of judgment herein, together with interest at the legal
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                                         COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
                         1   rate on each monthly payment from the date it became due until the date it is paid;
                         2         2.     An order determining that MR. SUTTON is entitled to future payments
                         3   so long as she remains disabled as defined in the Plan;
                         4         3.     For reasonable attorney fees incurred in this action; and
                         5         4.     For such other and further relief as the Court deems just and proper.
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                         7   DATED: April 3, 2020                           DONAHUE & HORROW, LLP
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                                                                            _/s/ Michael B. Horrow__________
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                                                                            MICHAEL B. HORROW
                        11                                                  SCOTT E. CALVERT
                                                                            Attorney for Plaintiff
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                                        COMPLAINT FOR BENEFITS UNDER A GROUP DISABILITY EMPLOYEE BENEFIT PLAN
